             Misscuss , Laus
     LAWS OF MISSOURI.
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         GENERAL AND LOCAL LAWS

                                  PASSED     AT TEE




                     REGULAR SESSION

                                       OF THE




      TWENTY - EIGHTH GENERAL ASSEMBLY ,


                               BEGUN   AND    IELD    AT




    THE CITY OF JEFFERSON , WEDNESDAY , JANUARY                    6   , 1875 .


                           BY AUTHORITY .



            WASHINGTON
            SCHOOL   OF LAW

             UNIVERSITY




                                JEFFERSON CITY :
                     REGAX & CARTER, STATE PRINTERS AND BINDERA.
                                        1875.
                                                                   22
Case 8:21-cv-01736-TDC
           50          DocumentGENERAL
                                95-25 LAWS
                                       Filed
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          same is hereby amended so as to read as follows : Section 56. Every
           person who shall willfully and maliciously break , destroy or injure




                                                                                                                                                              the or or the
          door       window      any dwelling house shop store           other house


                     or




                                                                                                                                  or
                                                  of




                                                                                                ,



                                                                                                            ,




                                                                                                                             ,
           building                              from the gate fence        inclosure



                               or




                                                                                                                                       or
                          sever therefrom




                                                                               of or
                                                                          ,
                          ,




                                                                                                                    ,




                                                                                                                                                                  ,
           any part thereof any material          which




                                                                                                                                  or
                                                                                                     it
                                                             formed      sever from




                                                                                                           is



                                                                                                                          ,
                                             ,
          freehold any produce thereof              anything attached thereto




                                                                                , , , or




                                                                                                                                                         or
                                                                                     pull




                                                                            ,




                                                                                                                                                     ,
          down injure         destroy any gate post railing                      any part


                                         or




                                                                                                                         or




                                                                                                                                                or
                                                                     fence




                                                                                                 ,
                    ,




                                                                                                                                       or ,
                                                                                       or
          thereof or cut down lap girdle              otherwise injure     destroy any
                     or ,




                                                                 ,
                                                          or ,
          fruit     ornamental        shade tree being the property          another




                                                                                                                                        of




                                                                                                                                                                     or
                                                                                                                                                          ,
          who shall cut down lap girdle              otherwise injure       destroy any




                                                                                       or




                                                                                                                                       or
                                                       ,


                                                                 ,




                                                                                ,
                            shade tree standing       growing      any common




                                                                                                                     on
          ornamental                                                                 pub
                                     or or




                                                                                           or




                                                                                                                                                         or
          lic ground        any street alley sidewalk        promenade         who shall




                                                                                                          or




                                                                                                                                            or
                                                                                                                                      ,
                                                                 ,
                              ,




                                                                               ,




                                                                                                                                                                     ,
                                                                          carry any




                                                                                                                                                                 tim
                                                           of
          without the consent          the owner cut down destroy




                                                                                                                                  or
                                                                                                           ,
                                                                                   on ,




                                                                                                                                                                   .
          ber       trees whatsoever being          any land not his own and not the
                    or




                                                                 ,




                                                                                                                                         ,
          property                                who shall buy        any way receive
                               of




                         the United States




                                                                                                                             in
                                                                                or




                                                                                                                        or
                                                                          ,
          any timber wood          trees that shall have been cut down upon
                                                      or




                                                                                                                                                         or
                                                                                     car
                                ,




          ried away from the lands
                                                                     of
                                            another without the consent        the owner




                                                                                                                                            of
                                                                                        ,
          thereof knowing the same                           cut down




                                                                                                           so




                                                                                                                                        or
                                                 ve been                     taken away
                                                                          to
                     ,




                             who shall willfully break destroy        injure any goods
           as




                                       or




                                                                                                                             or
              aforesaid




                                                                                                                                                                   ,
                                   ,




                                                                                                      ,
                                      other personal property




                                                                                                                     . of
                                                                    another shall upon
                                                           or




          wares merchandise




                                                                                                                                                         ,
                    ,




                                                                                                                                            ,
                            adjudged guilty
                                     be




          conviction                                misdemeanor
                                                                                of
                                                                                       a
                              2. ,




                          This act      take effect and be




                                                                                                                                                                     its
                                                            to




                                                               force from and after


                                                                                                            in
                SEC
                        .




          passage
                         .




                    Approved March
                                                             18




                                                                     1875
                                                             ,



                                                                          .




           CRIMES AND PUNISHMENTS                                                               CARRYING CONCEALED                               WEAPONS
                                                                                       :




                                                                                                                                                                     .
                             prevent the carrying     weapons     public assemblies the people and
                                                                          of




           AN ACT
                              to




                                                                                                                                       of
                                                                                                 in




                                                                                                                                                          ,
                           repeal    An act      prevent the carrying concealed weapons approved
                         to




                                                                 to




                                                                                                                                                  ,
                                             “




                                                                                                                                                 "
                                      26




                        March     1874
                                      ,


                                                  .




          SECTION                                                                          SECTION
              General provisions penalty                                                             Act
                                                                                                            to
                                                                                                3.




                                                                                                                 take effect
            2. 1.




                                                                                                                                  .
                                                      ;




                                                                      .




              Inconsistent act repealed
                                                                 .
                                             by




                                                                                                                                            Missouri
                                                                                                      of




                                                                                                                                      of




           Be        enacted                               General A8sembly                                          State
                                                                                                                                                                        as
                it




                                                  the                                                       the
                                                                                                                                                              ,




                        follows
                                       :




                                                                                                                    go




               Section       Whoever shall                      into any church
                                                                                   in




                                                                                                                                                                        on




                                               this state
                                       1.




                                                                               ,




                                                                                                                ,




          place where people have assembled for religious worship or into any
                                                                                                                                        ,
                                                                                                                 be




                            into any place where people
                                       or




          school room                                         assembled for educa
                                   ,




          tional literary                             any election precinct on any
                                             or




                               social purposes
                                                                                           or
                                                                                                 to
                    ,




                                                                                    ,




          election day       into any court room during the sitting          court
                                                                                                                                              of
                                          or
                                     ,




                                                                                                                                                               ,
                                                                                                                                                                       o




          into any other public assemblage       persons met for other than mili
                                                                                        of




                       meetings called under the militia law       this state having
                                                                                                                          of




          tia drill
                              or




                                                                                                                                                     ,
                     or ,




          upon                        any kind                       knife dirk dag
                                                                                           of




                    about his  person             fire arms  bowie
                                                                                                                 ,




                                                                                                                                              ,



                                                                                                                                                         ,




                                                                 deemed guilty
                                                                                                                                                                  of
                                                                                                                        be




          ger slung shot       other deadly weapon shall
                                                 or
            ,




                                                                                                     ,
                                        ,




                                                                     punished by
                                                                                                                              be




          misdemeanor and upon conviction thereof
                                                                                                                                                                      im
                                                                                                         ,




                                                          shall
                                     in ,




          prisonment       the county jail not                               by
                                                                                                                                                or
                                                                                           to




                                                  exceed six months                fine
                                                                                                                                                         a
                                                                                                                                       ,
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                                           CRIMES      AND PUNISHMENTS                          -    ELECTIONS .                                            51




                                                                                                                                      by
        not


              less than ten nor more than one hundred                                                     dollars                          both such




                                                                                                                              or
                                                                                                                         ,
                                                                        ,
    fine and imprisonment                                               That this act shall not apply




                                                                                                                                                            to
                                                            Provided




                                                     it :




                                                                                                                                              of
    any person whose duty                                                        the discharge    duties




                                                                   to
                                                                   bear arms




                                                                                                     in
                                                            is
                        2. by
    imposed                      law
                 All acts and parts   .




                                                                        of
        Sec                             acts inconsistent with this act are
                   .




    hereby repealed
                                      .
                This act shall take effect and be     force from and after




                                                                                                          in
                        3.




        Sec
                   .
     its




           passage
                            .




              This          bill having remained with the Governor ten days Sundays




                                                                                                                                           (
    excepted     and the General Assembly being    session  has become




                                                                                                        in




                                                                                                                                 it
                       ),




                                                                                                                           ,
                                                                                  A.
                                              eighteen hundred and sev




                                                                                            D.
        law this thirtieth day
                                                          of
                                 March
    a




                                                                           ,
    enty five
                       .




                                                                      K.
                                                 MICH’L                     MCGRATH Secretary




                                                                                                                                      of
                                                                                                                                           State




                                                                                                         ,




                                                                                                                                                     .
                       ELECTIONS                      REGULATING BALLOTS POLL BOOKS ETC.


                                                                                                                                 ,
                                                                                                     ,
                                                 :




                                                                                                                    -
     AN




                                                    chapter



                                                                                                                                           51 of
                                                     14



                                                                 17




              ACT                                                                                                                               Missouri
                       to




                                                                      of




                                                                                                of




                        amend sections     and                    the General Statates
                                                                                            2




                                                                                                                                                            ,
                   relating     elections the same being sections               chapter                                                             Wag
                                                                                                                         of




                                                                                                                                                   of
                                                                                                        14



                                                                                                                    17




                                                                      and
                                     to




                                                 ,




                   ner's Statutes
                                           .




    SECTION                                                                       SECTION
              Ballots how prepared                                                    Inconsistent acts repealed
      2. 1.




                                                                                    4. 3.
                       ,




                                                 .




                                                                                                                                           .



                                                                                            Act
                                           be
                                      to




                                                                                                     to




              Ballots how      counted                                                                    take effect
                        ,




                                                                                                                          .
                                                       .
                                      by




                                                 General Assembly
                                                                                                of




                                                                                                                                      Missouri
     Be




                                                                                                                                                            as
                                                                                                                              of




                   enacted                                                                           the State
              it




                                           the
                                                                                                                                                        ,




                   follows
                                     :




                                                                                                of




                       That section fourteen           the above recited act be
                                 1.




              SECTION
                            so
                           read      follows     Section 14. Each voter             any
                                           to




                                                                                                                                                   at
                                     as




                                                          , as




    amended
                                                                             to :




                                                         the judges
                                                                                                                                      of




                        full view deliver
                                                                                                    of




    election shall                              one                         election
                                                                                                                                                            bea
                                      in
                                 ,




                                                            be




    single ballot which shall          piece      white paper on which shall
                                                                                   of
                                                                 a
                                 ,




                                                                                                                    ,




                printed the names         the persons voted for with          designa
                       or




                                                                   of




    written
                                                                                                                         to ,


                                                                                                                                           a




                                                                     fill Provided
                                                       a he




                                      they may
                                                                                            ofbe




             the office which                         intended
                                                              or




    tion
               in of




                                                                                                                                                            ,
                                                                                                                                   :




    That     counties having       population        one hundred thousand and
    over said ballot shall not bear upon         any device whatever nor shall
                                                                                  it
              ,




                                                                                                                                          ,




                any writing       printing thereon except the names
                                                      or




                                                                                   per
                       be




                                                                                                                                                   of




    ibere
                                                                                                    ,




    sons and the designations                              filled leaving      margin
                                                                                                     be
                                                                of




                                        the office
                                                                                                to




                                                                                                                                           a
                                                                                                                    ,
              ,




                                                                                   for




                        the printed matter         substituting names        Each bal
     on




                                      of




        either side
                                                                                                                                      .




    lot may bear plain written           printed caption thereon composed
                                                                                                                                                            of
                                                                   or
                                  a




                                                                                                                                 ,




                                                       political character but on
                                                                                            its




    not more than three words expressing
                                                                                                                                              ,
                                                            ,
     be all




        such ballots the said caption                                     any manner
                                                                           or




                                             headlines shall not
                                                                                                                                 in
                                                                                                                             ,




                                                                                                                                                            ,




        designed      mislead the voter
                                 to




                                                                                  to




                                                                                                                or
                                                                             as




                                                 the name          names thereunder
                                                                                                                                                            .




    Any ballot not conforming          the provisions
                                                                                                                                                   be
                                                                                                          of
                                                                 to




                                                              this act shall       con
    sidered fraudulent and the same shall not be.counted
                                           ,




                                                                                                                          .
                                                                                       of




                   That section seventeen            the above recited act be
                            2.




         Sec
                    .




                                               Section 17. After the poll books
                                as




                                  follows
                                to
                             in so




                                                      as




    amended              read
                                                                                                                                                   -
                                                                           :




                    the manner hereinafter provided                           the poll
                                                                                                                                           of




    are signed                                                   the form
                                                                                                               in
                                                                      be




                                                                                                                                                be




    books the ballot boxes shall          opened and the tickets shall           taken
               ,
